
Shulman, Presiding Judge.
Accused of robbery by sudden snatching, appellant-minor was adjudged delinquent and committed to the Division of Youth Services of the Department of Human Resources. His appointed attorney filed a motion to withdraw as counsel pursuant to Anders v. California, 386 U. S. 738 (87 SC 1396, 18 LE2d 493). In accordance with Anders, counsel has filed a brief raising points of law which he considered could arguably support an appeal. We are in agreement with counsel that none of the points raised, though persuasively presented, has any merit. We have therefore granted the motion to withdraw. In addition, we have fully examined the record and transcript to determine independently if there are any meritorious errors of law. We have found none. We are satisfied that the evidence produced at trial was sufficient to authorize any rational trier of fact to find beyond a reasonable doubt that appellant committed the acts on which his adjudication of delinquency was based. Jackson v. Virginia, 443 U. S. 307 (99 SC 2781, 61 LE2d 560); Baldwin v. State, 153 Ga. App. 35, 37 (264 SE2d 528).

Judgment affirmed.


Banke and Pope, JJ., concur.

